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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


   ACADIA PHARMACEUTICALS INC.,

                               Plaintiff,
                                                     C.A. No. 1:22-cv-01387-GBW
                     v.
                                                     (Consolidated)
   AUROBINDO PHARMA LIMITED et al.,                  PUBLIC VERSION FILED
                                                     NOVEMBER 14, 2024
                               Defendants.



                           [PROPOSED] JOINT PRETRIAL ORDER

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         1.     This matter comes before the Court at a final pretrial conference to be held on

  Tuesday, November 26, 2024 at 1:00 pm ET under Rule 16 of the Federal Rules of Civil Procedure.

         2.     Plaintiff is ACADIA Pharmaceuticals Inc. (“ACADIA” or “Plaintiff”). Plaintiff is

  represented by James D. Taylor, Jr., Jessica M. Jones, and Michelle C. Streifthau-Livizos of Saul

  Ewing LLP. ACADIA is also represented by Chad J. Peterman, Bruce M. Wexler, Scott F.

  Peachman, Felix A. Eyzaguirre, and Peter E. Conway of Paul Hastings LLP.

         3.     Defendants are Aurobindo Pharma Limited and Aurobindo Pharma USA, Inc.

  (together, “Aurobindo”), and MSN Laboratories Private Ltd. and MSN Pharmaceuticals, Inc.

  (together, “MSN”) (collectively, “Defendants”). Aurobindo is represented by R Touhey Myer,

  Timothy H. Kratz, George J. Barry, III, Michael P. Hogan, and John Thallemer of Kratz & Barry

  LLP. MSN is represented by James S. Green of Seitz, Van Ogtrop & Green P.A. and Richard

  Berman, Janine Carlan, Bradford Frese, and Michael Baldwin of ArentFox Schiff LLP.

         4.     Pursuant to Local Rule 16.3, Plaintiff and Defendants, by their undersigned

  counsel, hereby submit this proposed Joint Pretrial Order governing the above-captioned bench

  trial commencing on Tuesday, December 3, 2024.

  I.     NATURE OF THE ACTION [L.R. 16.3(c)(1)]

         A.     Patents

         5.     This is an action alleging patent infringement arising under the patent laws of the

  United States, Title 35, United States Code based on Defendants’ filing of Abbreviated New Drug

  Applications (“ANDAs”) with the Food and Drug Administration (“FDA”).

         6.     ACADIA is the holder of approved New Drug Application (“NDA”) No. 210793

  which provides for the use of Nuplazid® (pimavanserin) 34 mg oral capsules. Nuplazid® is

  indicated for the treatment of hallucinations and delusions associated with Parkinson’s disease

  psychosis (“PDP”).
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         7.     ACADIA is asserting one patent in this litigation, U.S. Patent No, 11,452,721 (“the

  ’721 patent” or “the Patent-in-Suit”). The ’721 patent is listed in the FDA’s Approved Drug

  Products with Therapeutic Equivalence Evaluations (“Orange Book”) as covering Nuplazid® 34

  mg. ACADIA exclusively owns the ’721 patent.

         8.     ACADIA is currently asserting Claims 1-7 and 9-13 of the ’721 patent against

  defendant Aurobindo.

         9.     ACADIA is currently asserting Claims 1, 3-5, and 10-13 of the ’721 patent against

  defendant MSN.

         10.    The Orange Book provides the following expiration date for the ’721 patent:

                (a)      August 27, 2038

         B.     Pleadings (C.A. No. 22-1387-GBW)

         11.    On or about April 29, 2020, Aurobindo submitted ANDA No. 214782 to the FDA

  under Section 505(j)(2) of the Federal Food, Drug, and Cosmetic Act (“FFDCA”), 21 U.S.C.

  § 355(j)(2), seeking the approval to manufacture commercially and sell its proposed generic

  product—Pimavanserin Tartrate Oral Capsules, 34 mg (“Aurobindo’s ANDA Product”).

         12.    On or about October 27, 2022, Aurobindo sent Plaintiff a letter titled “Notification

  of Paragraph IV Certification Regarding U.S. Patent Nos. [sic] 11,452,721 Pursuant to Section

  505(j)(2)(B)(i)-(ii) of the Federal Food, Drug, and Cosmetic Act” (“Aurobindo’s Paragraph IV

  Notice Letter”). Aurobindo’s Paragraph IV Notice Letter disclosed that its ANDA No. 214782

  contained certifications under FFDCA § 505(j)(2)(A)(vii)(IV) for the patents listed in the Orange

  Book for Nuplazid®, including for the ’721 patent.

         13.    On or about April 29, 2020, MSN submitted ANDA No. 214925 to the FDA under

  Section 505(j)(2) of the Federal Food, Drug, and Cosmetic Act (“FFDCA”), 21 U.S.C. § 355(j)(2),
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  seeking the approval to manufacture commercially and sell its proposed generic product—

  Pimavanserin Tartrate Oral Capsules, 34 mg (“MSN’s ANDA Product”).

         14.     On or about November 7, 2023, MSN sent Plaintiff a letter titled “Notification of

  Certification of Invalidity, Unenforceability and/or Non-infringement for U.S. Patent No. U.S.

  Patent No. [sic] 11,452,721, Pursuant to Section 505(j)(2)(B)(iv) of the Federal Food, Drug, and

  Cosmetic Act: Pimavanserin” (“MSN’s Paragraph IV Notice Letter”). MSN’s Paragraph IV

  Notice Letter disclosed that its ANDA No. 214925 contained certifications under FFDCA

  § 505(j)(2)(A)(vii)(IV) for the patents listed in the Orange Book for Nuplazid®, including for the

  ’721 patent.

         15.     Case number 1:22-cv-01387-GBW (the “Action”) is a consolidation of two Hatch-

  Waxman actions, filed by ACADIA in 2022, against defendants Aurobindo and MSN as a result

  of each defendant each having filed its own ANDA seeking to market its own generic version of

  Nuplazid® 34 mg capsules. Plaintiff commenced the action again Aurobindo within 45 days after

  receiving Aurobindo’s Paragraph IV Notice Letter. Plaintiff commenced this action against MSN

  prior to receiving MSN’s Paragraph IV Notice Letter. On October 21, 2022, ACADIA filed two

  separate actions, one against Aurobindo based on Aurobindo’s filing of ANDA No. 214782, and

  another against MSN based on MSN’s filing of ANDA No. 214925. 1 These actions were

  consolidated by this Court and referred to as Acadia Pharmaceuticals Inc. v. Aurobindo Pharma

  Limited et al. (C.A. No. 22-1387, D.I. 15 at ¶¶ 1, 3.)

         16.     Plaintiff asserted that each Defendant was infringing under 35 U.S.C.

  § 271(e)(2)(A) by submitting their ANDAs prior to the expiration of the ’721 patent. (D.I. 1; C.A.



  1
      The action filed by ACADIA against MSN, which was consolidated into this action, was case
      number 1:22-cv-01388-GBW.
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  No. 22-1388, D.I. 1.) Plaintiff also asserted that if Defendants’ respective ANDA Products were

  to be approved, then Defendants’ manufacture, use, sale and/or offer to sell in the United States,

  and/or importation into the United States, of Defendants’ respective ANDA Products would

  infringe the ’721 patent under 35 U.S.C. § 271(a), (b), and/or (c). (D.I. 1; C.A. No. 22-1388, D.I.

  1.) On January 2, 2023, Aurobindo filed its Answer to Plaintiff’s Complaint Against Aurobindo

  Pharma Ltd. and Aurobindo Pharma USA, Inc., denying infringement and alleging patent

  invalidity with respect to the ’721 patent. 2 (D.I. 10.) On December 23, 2022, MSN filed its

  Answer, Affirmative Defenses, and Counterclaims denying infringement and alleging

  counterclaims of patent invalidity with respect to the Patent-in-Suit. (C.A. No. 22-1388, D.I. 13.)

            17.    On January 13, 2023, Plaintiff filed its Answer to MSN’s December 23, 2022

  Counterclaims. (C.A. No. 22-1388, D.I. 13.)

  II.       JURISDICTION [L.R. 16.3(c)(2)]

            18.    This action arises under the patent laws of the United States. This Court has federal

  subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338(a), 2201, and 2202. Subject matter

  jurisdiction and personal jurisdiction are not disputed for purposes of this action.

  III.      UNCONTESTED FACTS [L.R. 16.3(c)(3)]

            19.    The parties stipulate to the facts listed in Exhibit 1 hereto. These stipulated facts

  require no proof at trial and will become part of the evidentiary record in this case.

  IV.       CONTESTED FACTS [L.R. 16.3(c)(4)]

            20.    Plaintiff’s statement of issues of fact that are not stipulated for purposes of this

  pretrial order is attached hereto as Exhibit 2.




  2
      Aurobindo did not allege a counterclaim of noninfringement of the ’721 patent.
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         21.     Defendants Aurobindo and MSN’s statement of issues of fact that are not stipulated

  for purposes of this pretrial order is attached hereto as Exhibit 3.

         22.

  V.     ISSUES OF LAW [L.R. 16.3(c)(5)]

         23.     Plaintiff’s statement of issues of law that provide a legal framework for issues

  remaining to be litigated is attached hereto as Exhibit 4.

         24.     Defendants’ statement of issues of law that provide a legal framework for issues

  remaining to be litigated is attached hereto as Exhibit 5.

  VI.    EXHIBITS [L.R. 16.3(c)(6)]

         A.      Trial Exhibits

         25.     The list of exhibits which, subject to continued meeting and conferring in advance

  of and during trial, may ultimately be offered jointly by Plaintiff and Defendants, is attached hereto

  as Exhibit 6. These exhibits are identified by the prefix JTX.

         26.     The list of exhibits which may be offered by Plaintiff, including Defendants’

  objections thereto, is attached hereto as Exhibit 7. These exhibits are identified by the prefix PTX.

         27.     The list of exhibits which may be offered by Defendants, including Plaintiff’s

  objections thereto, is attached hereto as Exhibit 8. These exhibits are identified by the prefix DTX.

  Aurobindo’s ANDA documents are specifically identified with the prefix AURO-DTX. MSN’s

  ANDA documents are specifically identified with the prefix MSN-DTX.

         28.     The parties agree to make physical exhibits, if any, reasonably available for

  inspection at a date and time mutually agreeable by the parties. For the avoidance of doubt, this

  does not include demonstrative exhibits (i.e., those created for purposes of trial), described below.
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       29.     The pretrial order contains the maximum universe of exhibits to be used by any

party (other than solely for impeachment) as well as all objections to the admission of such

exhibits. Exhibits not listed will not be admitted unless good cause is shown.

       30.     Each party reserves the right to offer exhibits set forth on the other party’s exhibit

list, even if not set forth on its own exhibit list. Any trial exhibit, once admitted, may be used

equally by either party subject to any limitations as to its admission into evidence.

       31.     The parties reserve their rights to raise all objections to exhibits as set forth on the

trial exhibit lists. The listing of a trial exhibit does not constitute an admission as to the

admissibility of the trial exhibit (i.e., a waiver of any applicable objection). Each party reserves

the right to object to the relevance or admissibility of any evidence offered by the other party (or

jointly), at the time such evidence is offered, in view of the specific context in which such evidence

is offered, or for any other reason as set forth in the Federal Rules of Evidence or other applicable

principles of law.

       32.     Each party shall serve on opposing counsel by electronic mail a written list by

exhibit number of the trial exhibits that the party intends to use during direct examination of a

witness (i.e., the subset of trial exhibits already disclosed on Exhibits 6–8), by 7:30 pm ET one

calendar day before such direct examination is expected to take place. The party receiving the

identification of exhibits intended for use during direct examination of a witness will inform the

party identifying the exhibits of any objections by 9:00 pm ET the that same day, and the parties

shall meet and confer as soon as possible thereafter to resolve such objections, but in any event,

by 10:00 pm ET that same day. If good faith efforts to resolve the objections fail, the party

objecting to the exhibits shall bring its objections to the Court’s attention at the beginning of the

day. Failure to comply with these procedures, absent an agreement by the parties and approval by
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the Court, will result in waiver of the use of an exhibit or waiver of objection to the exhibit. The

advance notification provision for exhibits does not apply to exhibits to be used during cross-

examination.

       33.     Other than trial exhibits jointly designated by the parties in Exhibit 6 and any

supplements thereto, or as otherwise agreed by the parties, no exhibit shall be admitted unless

offered into evidence through a witness, subject to the Court’s ruling on any objections as to

admissibility and the witness’s ability to testify concerning said exhibit. At some point before the

completion of the parties’ case in chief, any party that has used an exhibit with the witness and

wishes that exhibit to be admitted into evidence, must formally move the exhibit into evidence by

reading a list of exhibit numbers into the record. Failure to raise an objection to an exhibit at trial

shall be considered a waiver of said evidentiary objection.

       34.     The parties agree that exhibits to be used solely for impeachment need not be

included on the lists of trial exhibits or disclosed in advance of being used or offered at trial.

However, the use of an exhibit solely for impeachment purposes will not result in the exhibit being

admitted into evidence, and the admission of such an exhibit is subject to the requirements in the

above paragraphs if a party wishes to have the exhibit admitted into evidence.

       35.     Exhibits not objected to will be received into evidence by the operation of the Final

Pretrial Order without the need for additional foundation testimony, provided they are shown to a

witness through live testimony or by deposition designation.

       36.     Each party agrees that complete legible copies of documents may be offered and

received into evidence to the same extent as an original unless a genuine question is raised as to

the authenticity of the original, or if in the circumstances it would be unfair to admit the copy in

lieu of the original.    Complete legible copies of United States and foreign patents and/or
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applications, and the contents of associated file histories, may be offered and received into

evidence in lieu of certified copies thereof, subject to all other objections which might be made to

the admissibility of certified copies.

       B.      Demonstrative Exhibits

       37.     Exhibits that the parties intend to use at trial solely for demonstrative purposes (i.e.,

those created for purposes of trial, as distinguished from physical exhibits that exist independent

of trial in this action that a party may wish to use at trial) without admitting into evidence

(“demonstrative exhibits”) do not need to be described on their respective lists of trial exhibits.

       38.     Each demonstrative exhibit shall clearly indicate on the face of the demonstrative

exhibit, if practicable, all information sources (including, if available, trial exhibit numbers) that

form the basis for the demonstrative exhibit. If not practicable to indicate the sources on the face

of the demonstrative exhibit itself, an identification of the sources shall accompany the

demonstrative exhibit. Each demonstrative exhibit used by Plaintiff for its opening statement

should be enumerated using the prefix PDX-OPENING- and each demonstrative exhibit used by

Defendants for their respective opening statements should be enumerated using the prefix DDX-

OPENING-, MSN-DDX-OPENING- (for MSN-specific demonstrative exhibits) and AURO-

DDX-OPENING- (for Aurobindo-specific demonstrative exhibits). Each demonstrative exhibit

used with a witness should bear the prefix [WITNESS SURNAME]-DX-.

       39.     Each party shall serve on opposing counsel by electronic mail (for files having a

size of less than 10 MB) and/or by electronic file transfer (for files having a size of 10 MB or

greater) full color copies (or videos, for the case of animations) of any demonstrative exhibits that

each party intends to use at trial during opening statements or during direct examination of a

witness according to the schedule below. For irregularly sized physical demonstrative exhibits,

the party seeking to use the demonstrative exhibit will provide a color representation as a PDF of
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8.5 x 11 inch copies of the demonstrative exhibit and make the original available for inspection by

the opposing party.

        40.     For demonstrative exhibits to be used in connection with opening statements, each

party shall exchange such demonstrative exhibits by 12:00 pm ET the day before opening

statements. The party receiving identification of demonstrative exhibits for opening statements

will inform the party identifying the demonstrative exhibits of any objections by 4:00 pm ET on

the day before opening statements, and the parties will meet and confer as soon as possible

thereafter to resolve such objections, but in any event by 5:00 pm ET that same day.

        41.     For demonstrative exhibits to be used in connection with direct examination of a

witness, each party shall exchange such demonstrative exhibits by 7:30 pm ET on the calendar day

before such direct examination is expected to take place. The party receiving identification of

demonstrative exhibits for direct examination will inform the party identifying the demonstrative

exhibits of any objections by 9:00 pm ET on the day of receipt, and the parties will meet and confer

as soon as possible thereafter to resolve such objections, but in any event by 10:00 pm ET that

same day.

        42.     For the avoidance of doubt, only a demonstrative exhibit that falls into one of the

following categories is not required to be provided to the other side in advance of its use: (a) a

copy of a single trial exhibit or part of a single trial exhibit, or a blow-up or highlighting of a single

trial exhibit or part of a single trial exhibit, or (b) a blow-up or highlighting of a single deposition

or trial transcript or part of a single deposition or trial transcript.

        43.     The advance notification provisions for demonstrative exhibits do not apply to

demonstrative exhibits used in closing arguments (to the extent closing arguments are requested
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by the Court), or demonstratives used for cross-examination, which do not need to be provided to

the other side in advance of their use.

VII.    WITNESSES [L.R. 16.3(c)(7)]

        44.     Plaintiff’s list of fact and expert witnesses they may call at trial, either live or by

deposition, including Defendants’ objections thereto, is attached hereto as Exhibit 9.

        45.     Defendants’ list of fact and expert witnesses they may call at trial, either live or by

deposition, including Plaintiff’s objections thereto, is attached hereto as Exhibit 10.

        46.     Any witness not listed as described in Exhibits 9 or 10 and above will be precluded

from trial.

        47.     The curricula vitae of live witnesses a party intends to call at trial may be submitted

at the time of the pretrial conference.

        48.     The listing of a witness on a party’s witness list does not require that party to call

that witness to testify, either in person or by deposition, nor shall it constitute an admission as to

the availability or unavailability of that witness to appear live at trial.

        49.     Each party shall identify by electronic mail a good faith order of all of their live

trial witnesses by 7:00 pm ET one week ahead of the start of trial. Additionally, the parties agree

they will timely notify the other party if there are any anticipated changes to the order of live trial

witnesses after this disclosure and before the start of trial.

        50.     Each party shall serve on opposing counsel by electronic mail a list of all witnesses

(whether live or via deposition testimony) the party intends to call at trial and in what order by

7:00 pm ET two calendar days before such testimony is expected to take place. The party receiving

identification of the witnesses will inform the party identifying the witnesses of any objections by

9:00 pm ET that same day, and the parties will meet and confer as soon as possible thereafter to

resolve such objections, but in any event by 10:00 pm ET that evening.
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        A.      Deposition Designations

        51.     Deposition testimony that Plaintiff may offer into evidence, together with

Defendants’ counter-designations and the parties’ respective objections, is identified in Exhibit 11

hereto. Deposition testimony that Defendants may offer into evidence, together with Plaintiff’s

counter-designations and the parties’ respective objections, is identified in Exhibit 12 hereto.

Deposition testimony to be used solely for cross-examination but not admitted into evidence need

not be identified to the other side in advance of its use.

        52.     Each party shall serve on opposing counsel by electronic mail a written list of the

final remaining lines and pages of each deposition transcript (i.e., the subset of deposition

designations already disclosed in Exhibits 11 and 12), prior to reading or playing a video of the

deposition at trial (other than for impeachment of a witness or cross-examination) that a party

intends to use at trial by 7:00 pm ET at least three calendar days before such deposition designation

is expected to be used. The party receiving the identification of deposition designations will inform

the party identifying the deposition designations of any objections and counter-designations by

7:00 pm ET two calendar days prior to the testimony being offered into the record, and the parties

will meet-and-confer by 10:00 p.m. ET that same day in a good-faith effort to discuss and resolve

any objections to the deposition designations. If there are objections that remain to be resolved

after the parties meet and confer, the party calling the witness by deposition shall, no later than

one (1) calendar day before the witness is to be called at trial, submit on behalf of all parties: (i) A

copy of the entire deposition testimony of the witness at issue, clearly highlighting the

designations, counter-designations, and pending objections; and (ii) a cover letter clearly

identifying the pending objections as well as a brief indication (i.e., no more than one sentence per

objection) of the basis for the objection and the offering party’s response to it. Failure to comply

with these procedures, absent an agreement by the parties and approval by the Court, will result in
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waiver of the use of the deposition testimony or waiver of objection to the use of the deposition

testimony.

       53.     To the extent that deposition designations or counter-designations are admitted into

evidence, they must either be played by video or read in open court, unless the Court prefers to

accept and take any such submissions under advisement (with each party being charged for the

playing time of their respective portions of the video designations). If a party opts to introduce

deposition testimony, any counter-designation of that same witnesses’ testimony must be

submitted in the same medium, and the testimony designated by both parties will be played or read

consecutively in the sequence in which the testimony was originally given at deposition. When the

witness is called to testify by deposition at trial, the party calling the witness shall provide the

Court with two copies of the transcript of the designations and counter-designations that will be

read or played. An additional copy shall be provided to the court reporter. To the extent deposition

designations are read or played in open court, each party will be charged the time taken to read or

play its designations. For convenience, if both parties’ designations are played together, the time

charged to each party will be measured by the proportion of the number of lines of testimony for

each party’s designations as compared to the total number of lines of testimony read or played.

Prior to the introduction of deposition designations or counter-designations, counsel for the

introducing party may provide a short introduction to the Court about the identity of the witness

and subject matter of deposition testimony, which introduction the parties agree is not evidence

and the time for which will be charged against that party.

       54.     All irrelevant and redundant colloquy between counsel and objections will be

eliminated when the deposition transcript is presented at trial. However, any objections that a

party intends to seek a ruling from the Court will be made at trial.
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       55.     The listing of a deposition designation does not constitute an admission as to the

admissibility of the testimony, nor is it a waiver of any applicable objection.

       B.      Objections to Expert Testimony

       56.     The parties request that the Court rule at trial on objections to expert testimony as

outside the scope of prior expert disclosures, taking time from the losing party’s trial presentation

to argue and decide such objections.

VIII. BRIEF STATEMENT OF INTENDED PROOFS [L.R. 16.3(c)(8)–(10)]

       57.     In support of its claims and in addition to the facts not in dispute, Plaintiff expects

to offer the proofs set forth in Exhibit 13.

       58.     In support of their claims and in addition to the facts not in dispute, Defendants

expect to offer the proofs set forth in Exhibit 14.

IX.    PROPOSED AMENDMENTS TO THE PLEADINGS [L.R. 16.3(c)(11)]

       59.     No parties seek to amend the pleadings at this time.

X.     CERTIFICATION OF SETTLEMENT DISCUSSIONS [L.R. 16.3(c)(12)]

       60.     Plaintiff ACADIA certifies that it has engaged in a good faith effort to explore

resolution of the controversy by settlement. A settlement has not yet been reached.

XI.    MISCELLANEOUS ISSUES

       A.      Motions In Limine

       61.     Pursuant to paragraph 14 of the Scheduling Order (D.I. 16), Plaintiff’s motions in

limine, along with Defendants’ oppositions thereto, Plaintiff’s replies, and supporting exhibits, are

set forth as follows and attached hereto as Exhibits 15A, 15B, 16A, and 16B.

               (a)     Plaintiff’s Motions In Limine to preclude Defendants’ experts from offering
                       opinions at trial based on claim constructions other than the claim
                       constructions decided on by this Court in D.I. 43.
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       62.     In order to avoid confusion, Plaintiff’s supporting exhibits to Plaintiff’s motions in

limine and replies to Defendants’ oppositions thereto will be marked using numbers (e.g., Exhibit

1), and Defendants’ supporting exhibits to Defendants’ oppositions will be marked using letters

(e.g., Exhibit A).

       63.     Pursuant to paragraph 14 of the Scheduling Order (D.I. 16), Defendants hereby

state that they are not bringing any motions in limine for the Court’s consideration. For clarity’s

sake, MSN maintains its Daubert motion to exclude Dr. Smith’s testimony regarding claim 3 (D.I.

94), which is fully briefed and pending before the Court.

       B.      Damages and Other Remedies [L.R. 16.3(c)(8)-(10)]

       64.     The parties do not intend to seek damages at this time, except all parties reserve the

right to seek attorneys’ fees, costs, and expenses pursuant to 35 U.S.C. § 285. Plaintiff also

reserves the right to seek damages if Aurobindo or MSN manufactures, uses, sells and/or offers to

sell in the United States, and/or imports into the United States, any of Aurobindo’s or MSN’s

respective ANDA Products prior to the expiration date of the Patent-in-Suit.

       65.     Plaintiff requests the following relief from the Court:

               (a)    An order that each of the asserted claims of the Patent-in-Suit is infringed

                      (directly and/or indirectly) and not invalid;

               (b)    An order that the effective date of any approval of the Defendants’

                      respective ANDAs may not be earlier than the expiration of the Patent-in-

                      Suit;

               (c)    Injunctive relief, as appropriate, against any infringement of the Patent-in-

                      Suit by Defendants, their officers, agents, attorneys, and employees, and

                      those acting in privity or contract with them, precluding them from

                      manufacturing, using, selling and/or offering to sell in the United States,
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                       and/or importing into the United States Defendants’ respective ANDA

                       Product;

               (d)     A grant of such other and further relief as this Court may deem just and

                       proper.

       66.     MSN requests the following relief from the Court:

                       (a)       An order declaring under 28 U.S.C. §§ 2201 et seq that the

                       submission of ANDA No. 214925 has not and will not infringe any valid

                       claim of the ’721 patent;

                       (b)       An order declaring under 28 U.S.C. §§ 2201 et seq that the Asserted

                       Claims are invalid, including under 35 U.S.C. § 103 and/or § 112; and

                       (c)       A grant of any other relief that the Court deems just and proper.

       67.     Aurobindo requests the following relief from the Court: denial of Plaintiff’s

requested are relief and the right to seek attorney fees and costs associated with this case and any

other relief that the Court deems just and proper

       C.      Expected Duration and Scope of Trial

       68.     Trial is scheduled to begin on December 3, 2024 and to last three days. The parties

request 18 hours of trial presentation time. Fifty percent of the time will be allotted to Plaintiff

and the remaining fifty percent to Defendants.

       69.     Time that a party is presenting opening statements, examining or cross-examining

witnesses, or presenting closing arguments (to the extent closing arguments are requested by the

Court) will be counted as the time of that party. Time spent arguing objections in open Court will

be assessed against the party that receives an adverse ruling concerning the objection.
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       70.     The parties will be conferring in advance of the Pretrial Conference the handling of

client Confidential Information and will use their best efforts to agree to a plan to present to the

Court that balances minimizing disruption of the court proceedings and protection of the parties.

       D.      Type of Trial

       71.     This is a non-jury trial.

       E.      Order of Proof

       72.     Opening arguments will be delivered in the following order:              Plaintiff, then

Defendants.

       73.     Plaintiff will present its entire case in chief on issues of infringement, including

asserted patent and technology background.

       74.     Defendants then will present their rebuttal to Plaintiff’s case in chief on issues of

infringement, and any additional technology background. Defendants then will present their case

in chief on issues of patent invalidity, not including presenting evidence on objective indicia of

nonobviousness.

       75.     Plaintiff then will present its rebuttal to Defendants’ case in chief on issues of patent

invalidity, including presenting evidence on objective indicia of nonobviousness.

       76.     Defendants then will present their evidence solely in response to Plaintiff’s

assertions of objective indicia of nonobviousness.

       F.      Daily List of Admitted Exhibits

       77.     The parties will meet and confer each day to discuss the list of admitted exhibits

used during that trial day. The parties will jointly coordinate with Court staff to ensure the Court

and all parties have an accurate list of admitted exhibits, and in the event of a dispute, timely raise

any issues in the morning.

       G.      Trial Transcript Errata
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       78.     The parties will meet and confer regarding an appropriate schedule for joint

submission of corrections to the trial transcript.

       H.      Post-Trial Briefing

       79.     The parties will work together to propose a schedule for post-trial findings of fact

and conclusions of law, and any potential closing arguments, after the conclusion of trial in

consultation with the Court.

       80.     Only admitted trial exhibits may be relied upon in post-trial briefing.

       81.     No appendices shall be submitted with any post-trial briefs.

       82.     Trial exhibits shall be referred to by exhibit number (PTX-, DTX-, AURO-DTX-,

MSN-DTX-, or JTX-).

       I.      Submission of Exhibits After Trial

       83.      In lieu of submitting hard copies of the parties’ admitted trial exhibits, the parties

shall submit hyperlinked versions of the parties’ post-trial papers within a week of the filing of the

last post-trial brief. If the Court prefers that such submissions be hard copies, the parties will

submit binder copies of the admitted trial exhibits within a week of the filing of the last post-trial

brief (Plaintiff will submit a binder(s) of any admitted JTX and PTX exhibits, and defendants will

submit a binder(s) of any admitted DTX exhibits).

XII.   ORDER TO CONTROL COURSE OF ACTION [L.R. 16.3(d)(4)]

       84.     This order shall control the subsequent course of the action, unless modified by the

Court to prevent manifest injustice.
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November 7, 2024

            SO ORDERED this     day of_______________________, 2024.



                                      UNITED STATES DISTRICT JUDGE
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